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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )
                                             )      Crim. No. 19-10141-LTS
SHELLEY M. RICHMOND JOSEPH,                  )
                                             )
                      Defendant.             )

        UNITED STATES’ ASSENTED-TO MOTION FOR LEAVE TO FILE
        REPONSE TO DEFENDANT JOSEPH’S FURTHER SUPPORTING
     MEMORANDUM IN SUPPORT OF HER “FIRST SUPPLEMENTAL MOTION
              TO COMPEL EVIDENCE OF BIAS” [ECF No. 172]

       Pursuant to Local Rule 7.1(b)(3), the United States respectfully requests leave to submit a

brief reply to defendant Shelley Joseph’s recent filing, ECF No. 172, which is a supplemental

memo in support of her motion asking the Government to search for and produce

communications that she believes could indicate that she is being prosecuted for political reasons

(ECF No. 130). The Government contends that ECF No. 172 contains factual

mischaracterizations and legally erroneous arguments regarding the discoverability of the

sought-after communications. The Government believes a short reply will assist the Court in

resolving Joseph’s motion.

       Through her counsel, Joseph has assented to the relief requested in this motion.

                                     Respectfully submitted,

                                     ZACHARY A. CUNHA
                                     UNITED STATES ATTORNEY
                                     Acting Under Authority Conferred by 28 U.S.C. § 515

                                     By: /s/ Christine Wichers
                                     Dustin Chao
                                     Christine Wichers
                                     Assistant U.S. Attorneys
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                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) on April 13,
2022.

                                              /s/ Christine Wichers
                                              Christine Wichers




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